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                                  #:120242
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 2 of 119 Page ID
                                  #:120243
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 3 of 119 Page ID
                                  #:120244
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 4 of 119 Page ID
                                  #:120245
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 5 of 119 Page ID
                                  #:120246
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 6 of 119 Page ID
                                  #:120247
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 7 of 119 Page ID
                                  #:120248
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 8 of 119 Page ID
                                  #:120249
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 9 of 119 Page ID
                                  #:120250
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 10 of 119 Page ID
                                  #:120251
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 11 of 119 Page ID
                                  #:120252
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 12 of 119 Page ID
                                  #:120253
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 13 of 119 Page ID
                                  #:120254
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 14 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 15 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 16 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 17 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 18 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 19 of 119 Page ID
                                  #:120260
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 20 of 119 Page ID
                                  #:120261
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 21 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 22 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 23 of 119 Page ID
                                  #:120264
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 24 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 25 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 26 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 27 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 28 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 29 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 30 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 31 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 32 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 33 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 34 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 35 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 36 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 37 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 38 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 39 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 40 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 41 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 42 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 43 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 44 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 45 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 46 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 47 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 48 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 49 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 52 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 53 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 55 of 119 Page ID
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                                  #:120301
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                                  #:120310
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                                  #:120311
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                                  #:120330
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                                  #:120332
Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 92 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 95 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 96 of 119 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-13 Filed 10/20/08 Page 97 of 119 Page ID
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